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                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION             MDL No. 2804
OPIATE LITIGATION
                                        Case No. 17-md-2804
This document relates to:
                                        Hon. Dan Aaron Polster
“Track One Cases”



     DEFENDANT MALLINCKRODT’S MEMORANDUM IN SUPPORT OF ITS
            MOTION FOR SEVERANCE OR A SEPARATE TRIAL
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         Mallinckrodt LLC, SpecGx LLC, and Mallinckrodt plc1 (together, “Mallinckrodt”) hereby

submit the following memorandum in support of their Motion for Severance or a Separate Trial.

                                                INTRODUCTION

         “A fair trial in a fair tribunal is a basic requirement of due process.” In re Murchison, 349

U.S. 133, 136 (1955). The seven-week mass trial planned for October 21 does not come close to

meeting the basic constitutional guaranty of fairness. Two Plaintiffs will each try 11 novel claims

for billions of dollars against at least 45 individual defendants consisting of differently situated

pharmaceutical manufacturers, distributors, and pharmacies. Such a trial against “the industry” as

a whole simply cannot comport with procedural due process, which requires individual justice for

each defendant. A jury must analyze each defendant’s liability under each of the Plaintiffs’

theories individually.          That task is impossible given the mountains of irrelevant (often

inflammatory) evidence against other defendants that a jury will need to disregard during these

individual inquiries. The restrictions of a time-limited mass trial also make it impossible for each

defendant to put forward a defense that delves deeper than the cartoonish portrayal Plaintiffs will

put forward based on a few inflammatory shreds of evidence.

         This is particularly true for Mallinckrodt. After more than a year of discovery, it is clear

that the evidence Plaintiffs intend to use against Mallinckrodt differs significantly both in quantity

and substance from the evidence against other defendants. As discussed herein, Mallinckrodt

almost exclusively manufactures generic opioid products (which it does not market to healthcare

providers) and has limited visibility into the pharmaceutical supply chain.




1
  Mallinckrodt plc is an Irish company that is not subject to and contests personal jurisdiction. It is specially appearing
to join this motion and does not waive and expressly preserves its personal jurisdiction challenge; pursuant to
Plaintiffs’ representation before the Court, foreign parent companies’ participation in pretrial briefing does not
prejudice their jurisdictional arguments.
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        However, a jury hearing all the evidence in this case as against all defendants—some of

which is a far better fit to Plaintiffs’ theories of liability—will be tempted to lump defendants

together and not consider the individual evidence against each defendant. And the critical

exculpatory evidence Mallinckrodt would present will be lost in a sea of unrelated, and largely

prejudicial, evidence. Moreover, Mallinckrodt will not only be defending itself against Plaintiffs’

claims, but also against the sometimes inconsistent trial strategies and potential “finger-pointing”

of its co-defendants. This untenable situation will undoubtedly infringe on Mallinckrodt’s right to

a fair trial and subvert the legal system’s commitment to individualized justice. Accordingly, this

Court should sever the claims against Mallinckrodt or order a separate trial on these claims.

                                           BACKGROUND

        A.     The Diverse Group of Defendants Named in the Complaints and Set to
               Participate in the Track-One Trial

        Plaintiffs’ far-ranging complaints each set forth 11 causes of action that span thousands of

paragraphs and hundreds of pages. By Plaintiffs’ own description, their claims boil down to two

overarching theories: (1) “a marketing scheme,” whereby they allege manufacturer defendants

disseminated false and misleading information about their FDA-approved opioid products; and (2)

diversion “scheme,” whereby Plaintiffs allege that all defendants failed to undertake necessary

measures to detect and prevent diversion of opioid medications into the illegal supply chain.

        Plaintiffs bring these claims against 21 corporate defendant groups falling into three

categories: manufacturers, distributors, and retail pharmacies. Among the manufacturer category,

there   are   six   distinct   corporate   families:   Allergan/Actavis,   Endo/Par,   Janssen/J&J,

Mallinckrodt/SpecGx, Purdue, and Teva/Cephalon/Actavis. Each of these families has a vastly

different involvement in the manufacture, marketing, and sale of opioid products.               Some

manufacture branded products, which are promoted to healthcare providers; some manufacture


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generic pharmaceuticals, which are not promoted to healthcare providers; some have manufactured

branded opioids for decades; some have only entered the market in the past five to ten years.

         The distributors (including the “big three,” AmerisourceBergen, McKesson, and Cardinal

Health) and retail pharmacies are likewise differently situated from the diverse group of

manufacturers. Most pertinently, these entities occupy a position in the pharmaceutical supply

chain far closer to the point at which diversion allegedly occurs. Distributors and pharmacies

know immediately where products are sold and how much is sold.2 Manufacturers, to the extent

they learn anything about downstream distribution at all, receive an incomplete picture through

“chargeback data” (financial reconciliation data that distributors provide to manufacturers after

the sale), which is both limited in scope and delayed in timing.3

         B.       Mallinckrodt Is Uniquely Distinct from its Co-Defendants

         Mallinckrodt accounts for only a small fraction of the allegations in this massive

consolidated case. Only 35 paragraphs of the 1,179-paragraph Cuyahoga and 39 paragraphs of the

1,138-paragraph Summit complaint even mention Mallinckrodt. And for good reason: Plaintiffs’

manufacturer claims focus on allegedly misleading promotion, but Mallinckrodt is primarily a

generic—i.e., non-promoting—opioid manufacturer.                      Excluding methadone—an addiction

treatment medicine—generic products accounted for an average of 99.9% of Mallinckrodt’s

relevant direct sales between 2006 and 2017.4 Mallinckrodt does not promote its generic products

to health care providers; nor does it employ sales representatives for those products or publish

promotional materials for them.5


2
  See Buthusiem Rep. 3–4 (Dkt. 1939-5/1936-5). On first reference, citations to expert reports and deposition
transcripts filed on the docket include the docket numbers (both sealed and public versions). See Appendix A.
3
  Buthusiem Rep. 3–5.
4
  Based on relevant direct sales and calculated as a share of dosage units. Nat’l Direct Sales Data (Dkt. 1898-4/1907-
4) (slipsheet for MNK-T10007897646; which Mallinckrodt will submit in native format). During this time frame, the
generic opioid products always accounted for more than 99.7% of relevant direct sales. Id.
5
  G. Collier Tr. 253:13–19 (Dkt. 1961-4/1976-4).

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        Mallinckrodt has only two branded opioid products at issue in the complaints, Exalgo and

Xartemis. These products comprised, on average, a vanishingly small 0.1%6 of Mallinckrodt’s

relevant direct sales between 2006 and 2017, and they only went on the market in 2010 and 2014,

respectively—at a time when opioid prescriptions were declining. 7 Furthermore, all promotional

materials for these branded products were consistent with their FDA-approved labels and included

the required black-box warning concerning the risks of addiction.8

        With regard to suspicious order monitoring (“SOM”), Mallinckrodt has always maintained

an active SOM program and has continually improved the program to address changing needs.9

Mallinckrodt’s program has included, among other measures, screening new customers,

monitoring all incoming orders, regularly meeting with customers, ensuring customers had valid

DEA registrations, training employees on compliance measures, auditing both distributors and

downstream pharmacies, and using chargeback data to prevent diversion.10 Indeed, Mallinckrodt

was the first to inform the DEA about chargeback data, and has received positive feedback from

the DEA stretching back more than a decade—with the DEA telling Mallinckrodt in 2010 that its

SOM program was “the best” it had ever seen.11 Tellingly, Plaintiffs’ own SOM experts conceded

that they were not claiming that Mallinckrodt’s program was insufficient after 2012.12




5
  G. Collier Tr. 253:13–19 (Dkt. 1961-4/1976-4).
6
  See supra n. 4.
7
  Macgowan Decl. Exs. 2–4.
8
  See, e.g., Macgowan Decl. Exs. 5–7.
9
  Harper Dep. Tr. 157:9–158:8, 189:18–190:7 (Dkt. 1944-34/1957-34); Rausch Tr. 98:8–19 (Dkt. 1970-3/1983-21).
10
   See, e.g., Macgowan Decl. Ex. 8 (screening); Harper Tr. 59:1–61:24, 232:20–234:3 (monitoring orders); Spaulding
Tr. 108:3–22 (Dkt. 1971-1/1984-19) (customer meetings); Harper Tr. 59:1–61:24 (DEA registration); Rausch Tr.
57:5–21 (same); Macgowan Decl. Ex. 9 (training); Rausch Tr. 130:12–25 (same); Harper Tr. 391:11–20 (downstream
audits); Ratliff Tr. 59:10–21 (1970-1/1983-19) (same); Nov. 1, 2010 Mallinckrodt Ltr. to DEA St. Louis (Dkt. 1898-
16/1907-16) (chargeback data); Nov. 1, 2010 Mallinckrodt Ltr. to DEA Albany Div. (Dkt. 1898-17/1907-17) (same).
11
   Macgowan Decl. Ex. 10.
12
   Rafalski Tr. 665:19–666:8; Whitelaw Tr. 938:9–13 (Dkt. 1972-7/1985-19).

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        C.       The Impossibility of the Track-One Mass Trial

        After more than a year of coordinated discovery, involving the production of tens of

millions documents and nearly 600 depositions of over 500 witnesses, the two bellwether cases in

Track One are scheduled for a single seven-week trial to begin on October 21, 2019, in which all

21 defendant groups will be tried together before a single jury. See Order (Dkt. 1598).

        The jury will need to resolve nearly 1,000 questions of law and fact13 to reach a verdict for

each cause of action for each Plaintiff as against each of the 45 plus individual defendants. Indeed,

Plaintiffs acknowledge that they “will be required to prove their claims against each individual

defendant based on each defendant’s alleged wrongdoing.” Dkt. 2099 at 2. This will involve

reviewing the evidence pertaining to each manufacturer defendant’s opioid products and

promotional materials, and each of the defendants’ suspicious order monitoring system over a

period spanning as many as 24 years. And evidence pertaining to a few defendants—i.e., those

who have heavily promoted their products, or who have been on the front lines of wholesale

distribution—will undoubtedly dominate the trial.

                                           LEGAL STANDARD

        Federal Rule of Civil Procedure 20(a) allows defendants to be joined in one action if the

“right to relief . . . arise[s] out of the same transaction, occurrence, or series of transactions or

occurrences” and “any question of law or fact common to all defendants will arise in the action.”

Under Rule 21, a court “may at any time, on just terms, add or drop a party” or “sever any claim

against a party.” Rule 42(b) allows a court to order separate trials on one or more separate issues

or claims.14 “The Court’s determination as to whether it should sever the claims of the plaintiffs



13
   Each of the 11 causes of action contains anywhere from 1 to 7 elements—each of which must be resolved for each
defendant against which they are alleged, leading to approximately 582 elements for the jury to resolve, many of
which must be resolved for each Plaintiff, nearly doubling the questions posed to the jury to upwards of 1,000.
14
   Federal Rule of Civil Procedure 20(b) likewise grants the Court power to order separate trials.

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under Rule 21 or whether it should order separate trials under Rule 42 requires the same

considerations.” Morris v. Northrop Grumman Corp., 37 F. Supp. 2d 556, 580 (E.D.N.Y. 1999).

Most notably, these considerations include “whether prejudice would be avoided if severance were

granted.” Fed. R. Civ. P. 42(b); Parchman v. SLM Corp., 896 F.3d 728, 733 (6th Cir. 2018).

                                          ARGUMENT

       Courts have long recognized that joint trials that try multiple, differently situated co-

defendants together, while convenient, do “not present any advantages in the search for truth” and

present “dangers of prejudice.” See United States v. Sophie, 900 F.2d 1064, 1083 (7th Cir. 1990).

Mass trials like the one planned here introduce the risk of significant prejudice to an individual

defendant who deserves individual justice rather than have its cause “lost in the shadow of a

towering mass litigation.” In re Brooklyn Navy Yard Asbestos Litig., 971 F.2d 831, 853 (2d Cir.

1992); see also In re Welding Fume Prod. Liab. Litig., No. 1:03-cv-17000, 2006 WL 2869548, at

*2 (N.D. Ohio Oct. 5, 2006) (same). And such resulting prejudice justifies either severance or a

separate trial. See Grayson v. K-Mart Corp., 849 F. Supp. 785, 789–91 (N.D. Ga. 1994); cf. United

States v. Delatorre, 522 F. Supp. 2d 1034, 1049 (N.D. Ill. 2007) (discussing “the likely jury

prejudice that could result” from this “mega-trial” in a RICO case against 14 defendants).

       This prejudice also interferes with the right to a fair trial under the Due Process Clause.

“The fundamental requirement of due process is the opportunity to be heard ‘at a meaningful time

and in a meaningful manner.’” Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (quoting Armstrong

v. Manzo, 380 U.S. 545, 552 (1965)); see also Bankers Tr. Co. v. Bethlehem Steel Corp., 752 F.2d

874, 890 (3d Cir. 1984) (“Due process mandates that a judicial proceeding give all parties an

opportunity to be heard on the critical and decisive allegations which go to the core of the parties’

claim or defense . . . .”). This procedural due process right to be heard “in a meaningful manner”

is eviscerated if defendant-specific facts are lost in mountains of irrelevant and inflammatory

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evidence related to co-defendants. “While the efficient administration of justice is always an

important consideration, fundamental fairness to every litigant is an even greater concern.”

Columbus-Am. Discovery Grp. v. Atl. Mut. Ins., 974 F.2d 450, 470 (4th Cir. 1992).15

         Proceeding with the mass trial planned here will be extremely prejudicial to

Mallinckrodt—depriving Mallinckrodt of its due process rights and justifying severance or a

separate trial. First, the planned mass trial will inevitably confuse a jury as it will be impossible

for a jury to determine whether the evidence presented against Mallinckrodt is sufficient to find

Mallinckrodt liable. Second, the mountains of evidence against Mallinckrodt’s differently situated

co-defendants is wholly irrelevant to the claims against Mallinckrodt. And all this evidence is not

merely background noise. It consists of inflammatory materials and testimony that will taint the

jury’s view of “the industry”—and thus, Mallinckrodt—and could result in a verdict grounded in

“guilt by association.” Third, significant prejudice also results from 21 different trial strategies,

some actually directly antagonistic to Mallinckrodt. Lastly, this resulting spillover prejudice

cannot be remedied through limiting instructions. Rather, to avoid this blatant prejudice (not to

mention misjoinder)16 and deprivation of the constitutional right to a fair trial, this Court must

either sever the claims against Mallinckrodt under Rule 21 or order a separate trial under Rule 42.

I.       A Single Seven-Week Trial for 21 Distinct Defendant Groups Will Undoubtedly
         Result in Jury Confusion and Prejudice.

         “Severance is appropriate where a joint trial could lead to confusion of the jury.” Costello

v. Home Depot U.S.A., Inc., 888 F. Supp. 2d 258, 265–66 (D. Conn. 2012) (severance appropriate




15
   Indeed, rather than draining tens of millions of dollars from the parties on a trial likely to be reversed on appeal, the
goal of efficient resolution would be better served by separate trials from the beginning.
16
   Due to the factual distinctions between Mallinckrodt and its co-defendants, Mallinckrodt has also been misjoined
under Rule 20(a): Plaintiff’s causes of action do not arise out of the same transaction and occurrences—but rather they
largely arise out of each co-defendants separate sales and marketing of opioid products—and do not share “common
issues of law and fact.” See supra pp. 2–4. This alone can justify severance under Rule 21.

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when evidence regarding “thirty-nine different plaintiffs . . . would be confusing to a jury”). “The

human limitations of the jury system are especially tested during a lengthy trial.” Delatorre, 522

F. Supp. 2d at 1050. “Jurors become overwhelmed by the volume of evidence and numbed by its

repetitiousness,” United States v. Warner, 506 F.3d 517, 523 (7th Cir. 2007), and the “sheer

confusion” from trying multiple claims against numerous defendants can prejudice defendants,

Sophie, 900 F.2d at 1083. For example, in Cain v. Armstrong World Industries, defendants in a

massive “[t]ry-as-many-as-you-can-at-one-time” trial did not receive a fair trial because excessive

irrelevant evidence left the jury with “the impossible task of being able to carefully sort out and

distinguish the facts and law of thirteen plaintiffs’ cases that varied greatly in so many critical

aspects.” 785 F. Supp. 1448, 1457 (S.D. Ala. 1992) (emphasis added).

       So too here. Over the course of seven weeks, two separate Plaintiffs will each try to prove

their 11 overlapping causes of action against at least 45 defendants. The jury would be faced with

a similarly “impossible task” of keeping track of each defendant’s products, each defendant’s

promotional and marketing practices, and each defendant’s monitoring of its opioid sales and then

apply these diverse facts to resolve dozens of elements as to each defendant. As in Cain, this

outcome plainly prejudices the defendants. Tellingly, Plaintiffs themselves have acknowledged

the “risk that the jury will be overwhelmed” and have moved to sever eight of the defendants. Dkt.

2099 at 3. Of course, the same risk identified by Plaintiffs exists as to the remaining 37 plus

defendants, and severing eight (mostly marginal) defendants does not begin to resolve that risk.

II.    A Joint Trial Will Require the Introduction of Irrelevant and Inflammatory Evidence
       Bound to Severely Prejudice Mallinckrodt and Deprive it of a Fair Trial.

       Of particular concern with massive joint trials, and acutely present here, is the extremely

prejudicial effect of a jury’s inability “to keep track of which evidence applies to which defendant,”

potentially applying irrelevant evidence concerning a particular co-defendant across the board—


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in essence, “lumping all the defendants together.” Sophie, 900 F.2d at 1083; see also Sidari v.

Orleans Cty., 174 F.R.D. 275, 282 (W.D.N.Y. 1996) (“A lumping together of such claims, which

amounts to guilt by association, would unfairly prejudice the defendants.”). In these situations,

and particularly in complex cases involving many different defendants and with “significant

differences between . . . claims against [co-defendants], there is a risk that trying all of Plaintiff[s’]

claims in a single trial could lead to guilt by association and spillover prejudice.” Deskovic v. City

of Peekskill, 673 F. Supp. 2d 154, 171 (S.D.N.Y. 2009) (internal quotation marks omitted). After

all, “[c]ommon sense tells us that as evidence with respect to [one defendant] cumulates, it can

only work to the harm and prejudice of [other defendants],” resulting in a “spill-over” prejudice.

United States v. Tsanges, 582 F. Supp. 237, 240–41 (S.D. Ohio 1984).

        For example, in Wells v. City of Dayton, this Court’s sister district held that inflammatory

evidence introduced during a joint trial that was relevant only to some defendants and irrelevant

to co-defendants resulted in prejudice and therefore necessitated a separate trial. 495 F. Supp. 2d

793, 795 (S.D. Ohio 2006). In a case involving § 1983 claims against the chief of police, the City

of Dayton, and two police officers, the officers moved for a separate trial because otherwise the

plaintiff could introduce evidence against the City and the chief regarding past incidents of alleged

misconduct by other police officers, wholly unrelated to the incident in question. Id. at 794–95.

The court granted this request, explaining that “questions regarding the liability of those individual

Defendants must be decided by the jury only on the facts of the particular encounter on which this

case is based” and “any inconvenience or lack of economy which would flow from the necessity

of conducting two trials would pale in comparison to the prejudice which would befall [the

officers]” if the joint trial proceeded. Id. at 795–96. (emphasis added).




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       The same reasoning applies here.         Like in Wells, the jury will be left to decide

Mallinckrodt’s liability based on a “torrent of information concerning the conduct of . . . other

unrelated situations at other times.” See id. at 795. For both Plaintiffs’ theories (marketing and

diversion), it is inevitable that “spillover” prejudice will occur: the jury will hear a mass of

inflammatory evidence concerning other defendants, irrelevant to Mallinckrodt.             And the

exculpatory evidence specific to Mallinckrodt will be lost in the sea of this irrelevant evidence.

       Marketing Theory: Plaintiffs’ entire marketing theory depends on a given defendant

actually making promotional statements about opioid products. If Mallinckrodt faced a separate

trial on the marketing issue, a jury would merely hear that Mallinckrodt almost exclusively sells

generic opioid products and has never promoted the efficacy or use of those products to healthcare

providers. A jury would further learn that the limited promotional materials distributed by

Mallinckrodt—beginning only after opioid prescribing had already begun to crest and only for a

limited number of years—for two branded products (i) could not have contributed to or caused the

increase in opioid prescribing and (ii) contained only accurate statements and prominently

displayed an FDA-mandated “black-box” warning of addiction and abuse risks. A Mallinckrodt-

only jury would be hard-pressed to find a single relevant promotional statement made by

Mallinckrodt, let alone any misrepresentation, that could serve as the basis of Plaintiffs’ claims

(or, for that matter, a single medically unnecessary prescription resulting therefrom).

       However, the jury deciding Mallinckrodt’s fate if the planned joint trial goes forward will

not just hear and see the foregoing evidence, but instead will be inundated with inflammatory

evidence from the five other manufacturer groups, some of which have been promoting opioids

for more than two decades. Indeed, Plaintiffs’ complaints indicate that their evidence will largely

center around Purdue and OxyContin. See, e.g., Cuyahoga Comp. ¶ 119 (1630/1631); Summit



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Compl. ¶ 131 (Dkt. 1465/1466).                  Further, the jury will likely hear and see the following

inflammatory evidence from other manufacturers (not Mallinckrodt), all of which is wholly

irrelevant (and therefore prejudicial) to Mallinckrodt:17

           An internal communication, dating back to 1995, allegedly recommending that a
            manufacturer, not Mallinckrodt, show that one of its opioids had a lower risk of abuse than
            other narcotics to increase sales, see Cuyahoga Compl. ¶ 137; Summit Compl. ¶ 149;
           A 1996 memo in which a regional manager of a manufacturer, not Mallinckrodt, allegedly
            instructed representatives to inform physicians that there is “no[] upward limit” for dosing,
            Cuyahoga Compl. ¶ 241; Summit Compl. ¶ 253;
           A 2017 FDA press release allegedly requiring the removal of an opioid product (not
            Mallinckrodt’s) from the market “due to the public health consequences of abuse” and
            evidence that the manufacturer knew that “newer statistics around abuse and diversion are
            not favorable to [this] product” in 2011, Cuyahoga Compl. ¶¶ 150, 307; Summit Compl.
            ¶¶ 162, 319;
           An FDA warning letter to a manufacturer, not Mallinckrodt, for allegedly “representing
            that [an opioid] ‘was useful in a broader range of conditions or patients than has been
            demonstrated by substantial evidence,’” Cuyahoga Compl. ¶ 151; Summit Compl. ¶ 163;
           An FDA warning letter to a manufacturer, not Mallinckrodt, allegedly describing an opioid
            product’s “Internet advertisement as misleading” and “criticiz[ing] . . . other direct . . .
            advertisements” for not disclosing risks, Cuyahoga Compl. ¶ 836; Summit Compl. ¶ 790.
            Each of the relevant defendants will surely dispute those allegations, but a mass trial

nonetheless presents fertile ground for “guilt by association,” and Mallinckrodt will undoubtedly

be prejudiced by the “spillover” of this irrelevant evidence.

            Diversion Theory: A Mallinckrodt-only trial on diversion issues would reveal: (i) the

DEA’s quota program authorized the amount of opioids Mallinckrodt produced; (ii) the DEA,

through its ARCOS system, had access to each link in the opioid supply chain;18 (iii) the DEA has

repeatedly lauded Mallinckrodt’s SOM program; (iv) Plaintiffs’ experts have explicitly denied

holding the opinion that Mallinckrodt’s SOM program was in any way inadequate after 2012; and

(v) Plaintiffs have not identified a single order that Mallinckrodt shipped to any customer that any


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     Mallinckrodt has no position on this evidence, but merely notes that Plaintiffs would likely proffer it at trial.
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     Buzzeo Rep. 7–8, 9 (Dkt. 1939-6/1936-6).

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witness says Mallinckrodt should not have shipped (nor a single shipment that Mallinckrodt even

made into Cuyahoga or Summit County in the last 20 years).

           But in the planned mass trial, Mallinckrodt will be prejudiced by the following spillover

evidence concerning other defendants’ suspicious order monitoring and anti-diversion programs:

          A discussion of a settlement that a big three distributor entered based on, inter alia,
           allegedly delivering, in less than two years, more than 3 million doses of hydrocodone to
           one small pharmacy in Baltimore, Maryland without reporting any as suspicious, Pls.’
           Mem. Law Supp. CSA Mot. Partial Summ. Adj. 82 (Dkt. 1924-1/1910-1);
          Evidence that a different big three distributor did “not yet have a system for detecting all
           suspicious orders” as of 2008, and “had accumulated nearly $1 billion in ‘fines,
           settlements, and lost business’ as a result of multiple regulatory actions” as well as
           documents suggesting “apathy toward regulatory compliance,” id. at 69–71;
          Documents suggesting that a third big three distributor shipped orders even after it
           determined that the orders were suspicious and reported them to the DEA, id. at 94; and
          A manufacturer, not Mallinckrodt, had “no SOM program whatsoever” in place as recently
           as 2010, id. at 52.
           Of course, Mallinckrodt has no visibility into the total shipments made by distributors nor

other manufacturers’ suspicious order monitoring decisions but will be extremely prejudiced by

the need to defend itself against this cloud of irrelevant evidence.

III.       Conflicting Defenses and Trial Strategies Will Also Prejudice Mallinckrodt.

           Mallinckrodt will also be prejudiced by the joint trial here because its co-defendants will

rely on conflicting defenses or trial strategies. Cf. Golden Goose Deluxe Brand v. Aierbushe, No.

19-cv-2518, 2019 WL 2162715, at *4 (S.D.N.Y. May 3, 2019); WowWee Grp. Ltd. v. Meirly, No.

18-cv-706, 2019 WL 1375470, at *6 (S.D.N.Y. Mar. 27, 2019). Defendants need not show that

their defenses or strategies are antagonistic to establish prejudice, but only “that there is tension

in their trial strategies”—i.e., that “each defendant will emphasize certain factual distinctions” and

such “contrasting factual distinctions” are both confusing to the jury and prejudicial to individual

defendants. Weiss v. Nat’l Westminster Bank PLC, No. 05-cv-4622, 2017 WL 10058916, at *4

(E.D.N.Y. Mar. 31, 2017). For example, in In re Repetitive Stress Injury Litigation, the Second

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Circuit vacated the consolidation of 44 cases that asserted claims for damages for “repetitive stress

injuries” involving separate defendants, reasoning that the “aggregate litigation” caused prejudice

because “defendants manufacture or distribute a variety of mechanical devices with differing

propensities, if any, to cause the harm alleged.” 11 F.3d 368, 371–73 (2d Cir. 1993). And, such

“[c]onsiderations of convenience and economy must yield to a paramount concern for a fair and

impartial trial.” Id at 373 (internal quotation marks omitted).

       The same risk of prejudice is created here: each of the 21 defendant families will

presumably have its own trial strategy based on its own factual distinctions and defenses—e.g.,

one defendant may have taken a certain approach to monitoring suspicious orders where others

did not. Of course each defendants’ counsel will use these distinctions to set its own client apart

from the rest. These varied strategies and distinctions will be confusing for the jury and prejudicial.

       Worse still, the defenses here are not merely in “tension,” they are likely to be outright

antagonistic. For example, the distributors have already explicitly tried to shift blame to the

manufacturers, arguing that “Plaintiffs seek to impose liability on Distributors for Manufacturers’

alleged marketing misconduct based on civil conspiracy.” Mem. Supp. Distributors-Defs’ Civil

Conspiracy Mot. Summ. J. 1 (Dkt. 1692/1908). Distributors apparently plan to point the finger at

manufacturers, including Mallinckrodt, in an effort to escape their own potential liability.

Prejudice and procedural due process violations are a given: Mallinckrodt will not only need to

contend with attacks from the table to the left, but also from the attorney sitting to the right.

IV.    Limiting Instructions Will Not Remedy the Infringement on Mallinckrodt’s Right to
       a Fair Trial.

       “[T]here are some contexts in which the risk that the jury will not, or cannot, follow

instructions is so great, and the consequences of failure so vital to the defendant, that the practical

and human limitations of the jury system cannot be ignored.” Bruton v. United States, 391 U.S.


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123, 135 (1968). Limiting jury instructions cannot cure the prejudice that will befall Mallinckrodt

if it is tried together with dozens of differently situated defendants—again, including brand

manufacturers that have been promoting opioid products for decades and distributors engaged in

wholesale distribution of opioid products, many of whom will be pointing fingers at each other

and Mallinckrodt to defend against their own liability. When co-defendants introduce inadmissible

and either inflammatory, accusatory, irrelevant, or even large quantities of evidence during joint

trials—as here—federal courts have recognized that limiting instructions cannot cure the risk of

prejudice. See, e.g., Costello, 888 F. Supp. 2d at 266 (introducing evidence regarding 39 separate

plaintiffs “could easily confuse a jury even with the clearest of jury instructions.”).

       The “prime consideration” in whether limiting instructions will be effective to address the

risk of prejudice is “whether the jury can reasonably be expected to compartmentalize the

evidence” as to each defendant. United States v. Gaines, 563 F.2d 1352, 1355 (9th Cir. 1977).

Where a jury cannot compartmentalize evidence, jury instructions will not protect the defendant

from substantial prejudice. In Moorhouse v. Boeing Co., for example, the court held that jury

instructions would not cure the risk of prejudice resulting from trying six plaintiffs’ cases against

17 defendants in a single trial. 501 F. Supp. 390, 392, 393 n.4 (E.D. Pa. 1980). Notwithstanding

factual overlap, “there were . . . substantial enough factual distinctions . . . which made it

impractical to try all the cases to the same jury.” Id. at 392. The court was “convinced a jury

would have faced a hopeless task of trying to discern who did and said what to whom and for what

reason” and “even the strongest jury instructions could not have dulled the impact of a parade of

witnesses.” Id. at 393 n.4 (emphasis added). Likewise, in Weiss, because most of the exhibits to

be introduced were unique to a particular defendant (and irrelevant to the remaining defendants)

and “weeks of defendant specific evidence [would] consume a consolidated trial,” the court



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concluded that it could not instruct a jury to assess the liability of one defendant “by putting aside

a significant amount of evidence introduced against another defendant on the same issue.” 2017

WL 10058916, at *3.         This risk could not be remedied by either “continuous[]” limiting

instructions or controlling the order in which different evidence is presented to the jury. Id.

        So too here. There may be factual overlap regarding the legal claims, but the factual

distinctions among the parties make the joint trial “impractical” and jury instructions futile. The

jury for the planned mass trial will face a “hopeless task” of sorting out who promoted what drugs

and when, whether those promotions contained misrepresentations, who heard those

misrepresentations, and so on. It will need to grapple with different defendant groups’ different

degrees of visibility into the supply chain. Even more, like in Weiss, it is inevitable that key

defendants (those who feature prominently in the complaint and have been the main focus of

discovery) will dominate the trial, requiring “continuous[]” limiting instructions. See id.

        These precautionary measures simply cannot “undo the possible confusion” that would

result from asking the jury to assess the evidence specific to Mallinckrodt and to “put[] aside”

large swaths of evidence related to other key defendants. See id. And the factual distinctions

among defendants are critical for Mallinckrodt: (i) as a generic manufacturer, it had limited

involvement in marketing opioids and (ii) as a manufacturer, it had limited visibility into the supply

chain (other than after-the-fact data) and therefore limited ability to monitor suspicious orders (as

compared to the “big three” distributors and pharmacies). Regardless of “how carefully [the] jury

[is] instructed as to separate consideration” for each defendant, there is a significant risk that a jury

will be influenced, even “subconsciously,” by irrelevant, inflammatory evidence. See Baker v.

Waterman S.S. Corp., 11 F.R.D. 440, 440–41 (S.D.N.Y. 1951).

                                           CONCLUSION

        This Court should grant Mallinckrodt’s motion to sever claims or hold a separate trial.

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Dated: August 5, 2019                        Respectfully submitted,



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                                             Mallinckrodt LLC and SpecGx LLC, and
                                             appearing specially for Mallinckrodt plc




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                     LOCAL RULE 7.1(f) CERTIFICATE OF SERVICE

       Pursuant to Local Rule 7.1(f), Mallinckrodt has 15 pages for non-dispositive motions. This

memorandum adheres to the limits set forth in that order, as it totals 15 pages.



Dated: August 5, 2019



                                                      /s/ Brien T. O’Connor
                                                      Brien T. O’Connor




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                                 CERTIFICATE OF SERVICE

       I, Brien T. O’Connor, hereby certify that the foregoing document was served via file

transfer protocol and email to all counsel of record.




                                                        /s/ Brien T. O’Connor
                                                        Brien T. O’Connor




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                     APPENDIX A




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  Deposition Transcripts    Date      Pltf/Def    Sealed Dkt No.   Public Dkt No.

 Collier, Ginger           01/08/19   Defendant      1961-4           1976-4

 Harper, Karen             01/15/19   Defendant      1962-19          1957-34

 Rausch, James             11/16/18   Defendant      1970-3           1983-21

 Rafalski, James           05/14/19   Plaintiff      1969-19          1983-16

 Spaulding, Eileen         02/05/19   Defendant      1971-1           1984-19

 Whitelaw, Seth            05/17/19   Plaintiff      1972-7           1985-19




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     Expert Reports        Date      Pltf/Def    Sealed Dkt No.   Public Dkt No.

 Buthusiem, Edward       05/10/19    Defendant      1939-5           1936-5

 Buzzeo, Ronald          05/31/19    Defendant      1939-6           1936-6




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         Other Documents                   Date19          Pltf/Def     Sealed Dkt No.   Public Dkt No.

       Civil Jury Trial Order             05/01/19        Court Order        N/A             1598

 Distributors’ Civil                      07/19/19        Defendant         1692             1908
 Conspiracy Mot. Summ.
 Judg.

 MNK-T1_0007897646                        07/19/19        Defendant        1898-5           1907-5

 National Direct Sales Data               07/19/19        Defendant        1898-4           1907-4

 Nov. 1, 2010 Mallinckrodt                07/19/19        Defendant        1898-17          1907-17
 Ltr. to DEA Albany Div.

 Nov. 1, 2010 Mallinckrodt                07/19/19        Defendant        1898-16          1907-16
 Ltr. to DEA St. Louis

 Pl. CSA Mot. Part. Summ.                 07/19/19         Plaintiff        1924             1910
 Adj.

 Pl. Mot. Part. Summ. Adj.                07/19/19         Plaintiff        1880             1890
 of Their Equitable Claims
 for Abatement of an
 Absolute Public Nuisance

 Pl. Mot. to Sever Def.                   07/31/19         Plaintiff         N/A             2099




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     Date refers to date filing appeared on the docket.

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